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                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


    UNITED STATES OF AMERICA,                                 MEMORANDUM DECISION
                                                              AND ORDER DENYING MOTION
                              Plaintiff,                      TO DISMISS INDICTMENT

    v.                                                        Case No. 4:20-cr-00022-DN-DBP-3

    AARON YARBROUGH, et al.,                                  District Judge David Nuffer

                              Defendant.


           Defendant Aaron Yarbrough seeks dismissal of the Indictment 1 arguing that the

government cannot prove the charges against him beyond a reasonable doubt, and that his right

to a speedy trial has been violated. 2 Because the Indictment is valid on its face and there are

disputed factual issues that are proper for a jury to resolve at trial, and because Mr. Yarbrough’s

speedy trial rights have not been violated, Mr. Yarbrough’s Motion 3 is DENIED.

                                                   DISCUSSION

                           The Indictment is valid on its face and there are
                  disputed factual issues that are proper for a jury to resolve at trial

           “Generally, the strength or weakness of the government’s case, or the sufficiency of the

government’s evidence to support a charge, may not be challenged by a pretrial motion.”4 “An

indictment should be tested solely on the basis of the allegations mode on its face, and such

allegations are to be taken as true.” 5 “An indictment is deemed constitutionally sufficient if it (1)


1
    Docket no. 37, filed Feb. 5, 2020.
2
    Defendant Aaron Yarbrough’s Motion to Dismiss Indictment (“Motion”), docket no. 85, filed Oct. 12, 2020.
3
    Id.
4
    United States v. Hall, 20 F.3d 1084, 1087 (10th Cir. 1994).
5
    Id.
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contains the essential elements of the offense intended to be charges, (2) sufficiently apprises the

accused of what he must be prepared to defend against, and (3) enables the accused to plead an

acquittal or conviction under the indictment as a bar to any subsequent prosecution for the same

offense.”6 And “[c]ourts should refrain from considering evidence outside the indictment when

testing its legal sufficiency.”7

           However, the Tenth Circuit Court of Appeals has recognized an exception to these

general principles, “where the underlying facts [are] essentially undisputed and the government

fail[s] to object to . . . evidence beyond the four corners of the indictment.”8 “Under this

[limited] scenario, a pretrial dismissal is essentially a determination that, as a matter of law, the

government is incapable of proving its case beyond a reasonable doubt.”9

           The Indictment charges Mr. Yarbrough with one count of Possession of

Methamphetamine with Intent to Distribute and one count of Possession of Fentanyl with Intent

to Distribute, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2. 10 The Indictment is valid

on its face, and Mr. Yarbrough does not challenge the constitutional sufficiency of the

Indictment.

           Mr. Yarbrough instead argues that the Indictment should be dismissed because the

government cannot prove the charges against him beyond a reasonable doubt. 11 Mr. Yarbrough

asserts several facts and presents evidence outside the four corners of the Indictment to support




6
    Id.
7
    Id.
8
    Id.
9
    Id. at 1088 (emphasis in original).
10
     Indictment at 1-3.
11
     Motion at 9-14.



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his argument. 12 The government disputes some of these facts and asserts other facts, which the

government argues support the charges against Mr. Yarbrough.13

            Among the undisputed facts asserted by the parties are: On or about January 26, 2020,

Mr. Yarbrough travelled by car from Michigan to California with co-defendants Lutcher and

Pratt, who lived in Indiana. 14 The three men attended the Kobe Bryant memorial and picked up

co-defendant Valenzuela in California. 15 The four men were then returning to Indiana on January

29, 2020, when their Chevrolet Sonic was stopped by law enforcement in Utah for having no

visible registration. 16 An officer searched the vehicle and discovered methamphetamine and

fentanyl bundled in a sweater behind a panel underneath the vehicle’s center console. 17 The

quantity of the controlled substances far exceeds what would be considered a personal use

amount. 18 A subsequent search of Mr. Yarbrough’s phone revealed a message thread that

officers believe to be consistent with narcotics distribution. 19 And Mr. Yarbrough has multiple

prior drug convictions, including convictions for cocaine, marijuana, heroin, and MDMA

possession. 20

            Mr. Yarbrough also presents statements from himself and his co-defendants regarding his

reasons for travelling to California and his lack of knowledge of the controlled substances in the




12
     Motion at 4-8.
13
     Response to Motion to Dismiss Indictment (“Response”) at 3-4, docket no. 86, filed Oct. 26, 2020.
14
     Motion ¶ 1 at 4.
15
     Id. ¶¶ 7-8 at 5.
16
     Id. ¶ 2 at 4, ¶ 12 at 5.
17
     Id. ¶ 14 at 5-6.
18
     Response at 4.
19
     Motion ¶¶ 18-19 at 6.
20
     Response at 3.



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vehicle. 21 But these statements are subject to credibility determinations that cannot properly be

made in a pretrial setting. These determinations are for a jury to make at trial.

           On this record, it cannot be determined as a matter of law that the government is

incapable of proving its case. It can be inferred that as a passenger in the subcompact car, Mr.

Yarbrough was in close proximity (within reaching distance) and had the ability to control the

controlled substances. It may also be found from the undisputed facts that Mr. Yarbrough

knowingly and intentionally possessed the controlled substances, and that he did aid and abet in

their possession. And Mr. Yarbrough’s intent to distribute the controlled substances may be

inferred from their quantity.22 Therefore, pretrial dismissal of the Indictment against Mr.

Yarbrough is not appropriate.

                         Mr. Yarbrough’s speedy trial rights have not been violated

           The Speedy Trial Act requires that a criminal trial “commence within seventy days from

the filing date (and making public) of the information or indictment, or from the date the

defendant has appeared before a judicial officer of the court in which such charge is pending,

whichever date last occurs.” 23 However, the Act permits the exclusion of time for various

reasons, including:

           A reasonable period of delay when the defendant is joined for trial with a
           codefendant as to whom the time for trial has not run and no motion for severance
           has been granted. 24

           Any period of delay resulting from a continuance . . . [based on] findings that the
           ends of justice served by taking such action outweigh the best interest of the
           public and the defendant in a speedy trial. 25

21
     Motion ¶ 4 at 4, ¶¶ 16-17 at 6, ¶¶ 21-22 at 6-7, ¶¶ 25-28 at 7-8.
22
     United States v. King, 485 F.2d 353, 357 (10th Cir. 1973).
23
     18 U.S.C. § 3161(c)(1).
24
     Id. § 3161(h)(6).
25
     Id. § 3161(h)(7)(A).



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           The Indictment against Mr. Yarbrough was publicly filed on February 5, 2020. Mr.

Yarbrough first appeared in court on the Indictment on February 7, 2020.26 Therefore, Mr.

Yarbrough’s speedy trial clock began on February 7, 2020. 27

           A 3-day jury trial was originally set to begin April 13, 2020. 28 However, the trial was

continued to August 17, 2020, based on the granting of a co-defendant’s motion to continue and

a finding that “the ends of justice served by such a continuance outweigh the best interests of the

public and the defendant in a speedy trial.” 29 Time was excluded from the speedy trial clocks for

all Defendants in this case from March 16, 2020, through August 17, 2020.30

           Additionally, due to issues relating to the coronavirus outbreak in Utah and nationwide,

the District of Utah enter General Orders 20-009, 20-012, 20-017, 20-021, 20-026, 20-029, and

20-030. These General Orders vacated all criminal jury trials and excluded time in all criminal

cases under the Speedy Trial Act based on the “ends of justice” from March 16, 2020, through

February 1, 2021.

           Specific to this case, the parties were directed to report on how much time they would

need to effectively prepare for trial, taking into account the exercise of due diligence, following

the lifting of restrictions on in-court proceedings. 31 Mr. Yarbrough’s co-defendants and the




26
     Minute Entry for Proceedings Held Before Magistrate Judge Evelyn J. Furse, docket no. 47, filed Feb. 4, 2020.
27
     18 U.S.C. § 3161(c)(1).
28
     Minute Entry for Proceedings Held Before Magistrate Judge Evelyn J. Furse, docket no. 47, filed Feb. 4, 2020.
29
     Order to Continue Jury Trial at 3-4, docket no. 74, filed March 17, 2020.
30
     Id.
31
     Docket Text Order, docket no. 80, filed Aug. 3, 2020.



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government agreed that 120 days would be needed. 32 Mr. Yarbrough objected and indicated his

intent to seek dismissal of the charges against him or severance of the trial. 33

           Mr. Yarbrough was directed to file motions to dismiss or for severance of trial “as he

feels appropriate.”34 But to date, Mr. Yarbrough has not filed a motion for severance of the trial.

An order continuing trial to December 14, 2020 entered on August 12, 2020, which excluded

time for all Defendants in this case under the Speedy Trial Act based on the “ends of justice.”35

And an order entered on November 2, 2020, continuing trial to a date that is 120 days after the

court is open for trials. 36 That order excluded time for all Defendants in this case under the

Speedy Trial Act based on the “ends of justice.”37

           Through both General Order and orders specific to this case, time has been excluded

from Mr. Yarbrough’s speedy trial clock from March 16, 2020, through a date that is 120 days

after the court is open for trials. Mr. Yarbrough does not challenge the sufficiency of the “ends of

justice” findings that resulted in the exclusions of time from his speedy trial clock. Rather, he

argues only that it is a miscarriage of justice to allow him to be detained pending trial on an

Indictment that should not been filed against him and cannot be proven. This argument lacks

merit. Mr. Yarbrough has not sought severance of the trial. And the “ends of justice” findings of

the General Orders and the orders specific to this case are sufficient. The exclusions of time are

proper.


32
     Joint Status Report, docket no. 81, filed Aug. 10, 2020.
33
     Status Report on Behalf of Defendant Aaron Yarbrough, docket no. 82, filed Aug. 10, 2020.
34
     Docket Text Order, docket no. 83, filed Aug. 12, 2020.
35
  Memorandum Decision and Order Continuing Trial and Excluding Time Under the Speedy Trial Act, docket
no. 84, filed Aug. 12, 2020.
36
  Memorandum Decision and Order Continuing Trial and Excluding Time Under the Speedy Trial Act, docket
no. 87, filed Nov. 2, 2020.
37
     Id.



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           Therefore, a total of 38 days (from February 7, 2020, to March 16, 2020) have run on Mr.

Yarbrough’s speedy trial clock, and his speedy trial rights have not been violated.

                                              ORDER

           IT IS HEREBY ORDERED that Mr. Yarbrough’s Motion 38 is DENIED.

           Signed November 9, 2020.

                                               BY THE COURT


                                               ________________________________________
                                               David Nuffer
                                               United States District Judge




38
     Docket no. 85, filed Oct. 12, 2020.



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